                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )       Case No. 10-3029-02-CR-S-GAF
                                             )
CHARLES MICHAEL HALL,                        )
                                             )
                      Defendant.             )

                                             ORDER

       Now pending before the Court are the following motions filed by Defendant Charles

Michael Hall:

       (1) Hall’s motion to strike the non-statutory aggravating factor of “future dangerousness”
           set out in the Notice Of Intent To Seek Death Penalty in toto, or, in the alternative, to
           strike certain allegations supporting the factor (Doc. 291);

       (2) Hall’s request for a detailed disclosure from the Government of the proposed “future
           dangerousness” information supporting that non-statutory aggravating factor
           allegation in the Notice Of Intent To Seek Death Penalty (Doc. 292);

       (3) Hall’s motion to strike the non-statutory aggravating factor regarding “lack of
           remorse” set out in the Notice Of Intent To Seek Death Penalty (Doc. 297);

       (4) Hall’s motion to strike the non-statutory aggravating factor set out in the Notice Of
           Intent To Seek Death Penalty alleging that Hall’s conduct suggested “grave
           indifference to human life” (Doc. 295);

       (5) Hall’s motion to strike the statutory aggravating factor contained in the superceding
           indictment alleging that Hall “committed the offense in an especially heinous, cruel
           or depraved manner in that it involved torture or severe physical abuse to” the victim
           (Doc. 296);

       (6) Hall’s motion to strike the statutory aggravating factor contained in the superceding
           indictment that Hall caused a death during the commission of the offense of murder
           by a person serving a life sentence (Doc. 224); and



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       (7) Hall’s motion to prohibit the Government from seeking the death penalty due to
           indictment clause violations (Doc. 215).

       On February 11, 2014, United States Magistrate Judge John T. Maughmer issued his

Report and Recommendation (Doc. #494).

       On February 26, 2014, Defendant filed Objections to the Report and Recommendation

Regarding Defendant Hall’s Motion to Declare the Federal Death Penalty Act Unconstitutional

Due to Indictment Clause Violations (Doc. #520).

       On March 28, 2014, Defendant filed the following objections:

       (1) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to Strike
           Future Dangerousness Aggravating Factor, or in the Alternative, to Strike Certain
           Supporting Allegations (Doc. #598);

       (2) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to Strike
           Lack of Remorse Aggravating Factor (Doc. #599);

       (3) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to Strike
           the Aggravating Factor Alleged Against Mr. Hall, Under Subparagraph 2(C)(ii) of the
           Government’s Notice of Intent to Seek the Death Penalty, Regarding “Conduct
           Suggesting a Grave Indifference to Human Life” (Doc. 600);

       (4) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to Strike
           the Aggravating Factor Alleged Against Mr. Hall Regarding Causing Death in an
           Especially Heinous, Cruel or Depraved Manner (Doc. 601);

       (5) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to Strike
           the Aggravating Factor Alleged Against Mr. Hall Regarding Causing a Death During
           the Commission of the Offense of Murder By a Person Serving a Life Sentence (Doc.
           #602);

       (6) Objections to the Report and Recommendation Regarding Mr. Hall’s Motion to
           Declare the Federal Death Penalty Act Unconstitutional Due to Indictment Clause
           Violations (Doc. #603).




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       Upon careful and independent review of the pending motions and suggestions in support

thereof, Defendant Hall’s objections to the Magistrate's Report and Recommendation, as well as

the applicable law, this Court hereby adopts and incorporates, in part, as its own Opinion and

Order the Report and Recommendation (Doc. #494).

       Accordingly, it is hereby ORDERED that the following motions are DENIED:

       (1) Mr. Hall’s Motion To Strike Future Dangerousness Aggravating Factor, Or In The
           Alternative To Strike Certain Supporting Allegations, filed February 11, 2013 (Doc.
           291);

       (2) Charles Michael Hall’s Request For Detailed Disclosure Of Proposed Future
           Dangerousness Information, filed February 11, 2013 (Doc. 292);

       (3) Charles Michael Hall’s Motion To Strike Aggravating Factor Regarding Lack Of
           Remorse, filed February 18, 2013 (Doc. 297);

       (4) Charles Michael Hall’s Motion To Strike Aggravating Factor Regarding Conduct
           Suggesting Grave Indifference To Human Life, filed February 18, 2013 (Doc. 295);

       (5) Charles Michael Hall’s Motion To Strike Aggravating Factor Regarding Causing
           Death In An Especially Heinous Cruel Or Depraved Manner, filed February 18, 2013
           (Doc. 296); and

       (6) Charles Michael Hall’s Motion To Prohibit The Government From Seeking The
           Death Penalty Due To Indictment Clause Violations, filed December 6, 2012 (Doc.
           215).

       IT IS FURTHER ORDERED that the following motion is GRANTED:

       (1) Charles Michael Hall’s Motion to Strike Aggravating Factor Regarding Causing
           Death during the Commission of the Offense of Murder by a Person Serving A life
           Sentence, filed December 25, 2012 (Doc. 224).

       SO ORDERED.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: April 7, 2014

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